EXHIBIT 1
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Job No. 3427294

 

IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF TEXAS
SHERMAN DIVISION

CIVIL ACTION NO. 4:17-cv-00872-ALM

MOBILITY WORKX, LLC,
Plaintiff,

VS.

CELLCO PARTNERSHIP d/b/a VERIZON WIRELESS,

 

Defendant.
/
Stearns Weaver Miller
150 West Flagler Street, Suite 2200
Miami, FL 33130
Friday, June 21, 2019
9:40 a.m. - 6:31 p.m.
VIDEOTAPED DEPOSITION OF MOBILITY WORKX, LLC
EDWIN HERNANDEZ-MONDRAGON
Taken before MARIA E. REEDER, RPR, FPR
and Notary Public for the State of Florida at
Large, pursuant to Notice of Taking Deposition
filed in the above cause.
Page 1

 

 

 

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APPEARANCES:

 

 

 

1 THE VIDEOGRAPHER: Okay. Good morning. The
2 On behalf of the Plaintiff: . — : . hs d
3 LAW OFFICES OF MICHAEL MACHAT, P.A. 2 time is 9:40 a.m. We're going on the record on
8730 West Sunset Boulevard, Suite 250 3 Friday, June 21, 2019. This is Media Unit 1 of
4 West Hollywood, FL 90069--2281 4 the video deposition of Edwin A.
Be MICHAEL, MACHAT, ESQ, 5 Hernandez-Mondragon taken in the matter of
5 michael@machatlaw.com . : :
6 6 Mobility Workx, LLC versus Verizon, filed in the
7 On behalf of Defendant: a United States District Court for the Eastern
8 ALSTON & BIRD, LLP 8 Court of Texas, Sherman Division. Case number
101 South Tyron Street, Suite 4000
9 Charlotte, North Carolina 28280 2 ST ENAIOBTZH LL
BY: ROSS R. BARTON, ESQ. 10 This deposition is being held at 150 West
10 ross.barton@alston.com 11 Flagler Street, Suite 2200, Miami, Florida,
5 12 33130.
13. ALSO PRESENT: 13 My name is Orlando Jimenez from the firm
14 Orlando Jimenez, Videographer 14 Veritext Legal Solutions. I'm the
Veritext Legal Solutions 15 videographer. The court reporter is Maria
ie 16 Reeder from the firm Veritext Legal Solutions.
17 17 Would counsel please state their
18 REPORTED BY: 18 appearance and affiliation for the record.
19 MARIA E. REEDER, RPR, FPR 19 MR. BARTON: This is Ross Barton from Alston
Veritext Florida Reporting .
20 2 South Biscayne Boulevard, Suite 2250 20 & Bird on behalf of the Defendant, Cellco
Miami, FL 33131 21 Partnership d/b/a Verizon Wireless.
21 22 MR. MACHAT: And this is Michael Machat on
ns 23 behalf of Plaintiff, Mobility Workx.
24 24 Thereupon:
25 25 EDWIN HERNANDEZ-MONDRAGON,
Page 2 Page 4
1 INDEX 1 A witness named in the notice heretofore filed,
z . 2 being of lawful age and having been first duly
3. Edwin Hernandez-Mondragon Page , fied on hi has foll ;
4 Direct by Mr. Barton 05 sworn, testified on his oath as follows:
5 4 THE WITNESS: I do.
6 5 DIRECT EXAMINATION
7 EXHIBITS MARKED 6 BY MR. BARTON:
8 se . : a Q Good morning, Dr. Hernandez.
9 Plaintiff's For Identification Page .
10 8 A Good morning.
11 Exhibit 1 First Amended Notice for Deposition 07 9 Q State your full name and address for the
For Mobility Workx 10 record, please.
12 Exhibit 2 First Amended Notice for Deposition 08 i PO
For Pawin 4. Herandez-Mondragon ee
th Eahiied ‘Mame ” TTT
14 Exhibit 4 Mutual General Release 99
15 Exhibit 5 Appendix A 110 14 Q. AndI know sometimes, I think, your last
16 Exhibit 6 417 Patent 134 15 name is hyphenated with Hernandez-Mondragon and
17. Exhibit 7 Adaptive Network Protocol 143 16 sometimes it's just Hernandez.
18 Bzbibit & S20 Patent big 17 Can you maybe just explain that to me?
19 Exhibit9 Drawing 184 18 A In Latins: . tly have both
20 Exhibit 10 Complaint for Patent Infringement 226 n.Lalin. america werusually nave bolh-names
21 Exhibit 11 Edwin A. Hernandez-Mondragon CV 243.—«(| 19. from your parents.
22 Exhibit 12 First Request for Admissions to 266 20 Q. Okay.
Defendant . 21 A The last name from your mom is the second.
23 Exhibit 13 First Set of Request for Admissions 267 22 The last name from your father is the first.
Number 46 and Beyond to Plaintiff 34 . h nat. but that’s how d
24 Exhibit 14 First Set of Interrogatories to 268 Somelmes they evap'that, but thats haw I wasmamed,
Defendant 24 Q. Okay. Are you okay if I just refer to you
25 25 as Dr. Hernandez?
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1 identifies Rick Sanchez, for example, to have some 1 basically were with Mr. Eric Spamburger, I don't know
2 shares in a company called Marathon IP, where Marathon | 2 how to pronounce his name, from -- back in the days
3 IP has a -- 3 when they had IP Nav, so they were all involved in IP
4 Q. Martin IP? 4 Nav.
5 A Marathon. 5 Q. And what leads you to believe that in 2018
6 Q Marathon IP. 6 there was an ongoing criminal conspiracy?
7 A Yeah. 7 A Their behavior.
8 Q_ Okay. 8 Q. And what about Alston & Bird's behavior led
9 A And some other things that you probably see 9 you to that conclusion, that there was an ongoing
10 in the production, that it was sent to the FBI. And 10 criminal conspiracy in 2018?
11 it's a total package. 11 A We have a witness that when we were in
12 As this was being delivered to them, then 12 discussion with our attorneys, in Cab's office, in
13 Lasked friends to just, like, look, this is what I 13 Austin, Texas, we had a discussion.
14 did. I'm afraid. I'm scared because I've never 14 The content of that discussion were
15 done anything like that. This is something on the 15 private. Somebody called from Nokia, one of your
16 criminal side, not on the civil side. 16 ex-attorneys from Nokia actually, and he knew the
17 So [had to tell some people to be witness 17 contents of discussion without us revealing
18 of that situation, and that's what happened. That's 18 anything. And then we were, like, how did he know
19 why I was a little hesitant to disclose the full 19 that if we just talk about it now.
20 spectrum because I'm not -- I don't know if this is 20 Q Contents of what discussion?
21 an investigation that is ongoing or what's going on. 21 A I don't recall the details. It's in the --
22 [have no idea. 22. it's probably recollected in my fact, but it was a
23 Q What communications did you provide to the 23 discussion about the patents and the whole -- because
24 FBI? 24 you have Nokia there on your side, right, and then
25 A I think it were, especially the Dallas when 25 Nokia has one of your attorneys? What's his name? I
Page 294 Page 296
1 the -- when we had instructed counsel not to do 1 can't remember his name. Anyway, so.
2 certain things and they did. When we instructed 2 He was leading us and in a way we think it
3 counsel to -- to proceed in a way and they didn't, so 3 was done in bad faith from Nokia, right, and
4 we attached -- I attached all those dialogues as 4 you're -- he was an ex-Alston & Bird attorney.
5 exhibits to the letter to the FBI. 5 That's why we see the connection.
6 Q_ That's the e-mail correspondence that you 6 And then Cab and everybody there, they
7 had with Whitaker Chalk and Cab Connor? 7 knew -- like Michael Newton knew every single move
8 A Yes, sir. 8 about Mobility Workx before anything. And now we
9 Q. And those are some of the e-mails that you 9 see the difference today with these new attorneys.
10 appended to your opposition to Verizon's emergency 10 You guys don't know what's going on.
11 motion to dismiss the case? 11 Q_ So you believed that there was someone in
12 A Yes. 12 Dominion Harbor or your counsel that was a mole for
13 Q_ Okay. So you believe that because Mike 13 Alston & Bird and T-Mobile and Nokia?
14 Newton and Alston & Bird had previous dealings with 14 A They were all associated -- you all share in
15 David Pridham and Dominion Harbor that there was a 15 the same background, IP Nav. They're all coming from
16 criminal conspiracy that involved Alston & Bird and 16 IP Nav.
17 Dominion Harbor? 17 Q_ So in your view there's an ongoing criminal
18 A I believe so. 18 conspiracy and espionage?
19 Q Do you still believe that? 19 A The way I phrase, and you will see the
20 A Yes. 20 letter, is that there is a fraud, a fraudulent
21 Q. What is the factual basis for that? 21 relationship between Dominion Harbor and the
22 A Acase in Minnesota I think it is, or 22 inventors.
23 Michigan where Michael Newton basically got involved | 23 Dominion Harbor say to the inventors, to a
24 in some sort of tampering a witness with David Pridham | 24 set of people, that they had already arranged,
25 and their CTO, Dominion Harbor's CTO. And they all 25 priorly, licensing deals. When they take them to

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1 there, then the inventor goes under the assumption 1 contain?

2 that this guy is an attorney and he's going to do 2 A It contained information from Sisvel

3 the best for them, when in reality what they are 3 negotiation. You used the Sisvel, I think, actually a

4 doing is a brokerage agreement where they probably 4 few minutes ago, a few hours ago.

5 collect the most amount of money. And they 5 So they used that when we had already had

6 fictitiously have these litigations and they are 6 a meeting with Sisvel and the expert knew that, so

7 kind of, like, in a way with certain different law 7 we pointed that out and said, "Look, the Sisvel

8 firms where they only work with only those law 8 factor that you used in there is wrong. You have to

9 firms, especially Rick Sanchez and Whitaker and 9 remove it because simply it's not -- it didn't
10 Chalk, and especially Cab. They're the same people 10 occur." And then they refused and they still sent
11 all the time doing the same type of tasks and they 11 to your firm the expert report.
12 have, unfortunately, a relationship between Michael 12 Q. And because of that you conclude that Alston
13 Newton, your lead counsel, with David for decades. 13 & Bird is engaged in a criminal conspiracy with your
14 There were in more than 100 cases, or 14 attorneys and Dominion Harbor to conspire against
15 something 90, whatever, with IP Nav. So I think 15 Mobility Workx; is that correct?
16 that that is a -- that was never disclosed to 16 A. And they stated the same thing with the
17. Mobility Workx ever. 17 technical expert report. They refuse to include the
18 Q_ And so your view is that Dominion Harbor was 18 Anritsu report in that expert report.
19 back-channeling privileged details about the 19 Q. And so, again, because of that you believe
20 litigation to Alston & Bird? 20 that Alston & Bird was and potentially continues to be
21 A Probably. 21 engaged in a criminal conspiracy with your attorneys
22 Q_ Probably. 22 and Dominion Harbor conspiring against Mobility Workx;
23 Do you believe that or not? 23 is that right?
24 A I think so. 24 A Probably. Yes, that's right. I believe
25 Q_ It's a very serious -- 25 that.

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1 A Yeah, yeah. 1 Q Does Dr. Helal share your view?

2 Q You believe that -- you believe that in your 2 A Yes.

3 heart of hearts? 3 Q Did you share this opinion with him?

4 A Yeah, I believe that in my heart. Yes. 4 A Ishare everything with him.

5 Q You understand that's a very serious 5 Q. And he concurs wholeheartedly?

6 allegation. 6 A Yes.

7 A Well, if the FBI investigate. They might 7 Q_ That is Mobility Workx' official position;

8 have recorded you already for the last nine month. 8 is that fair?

9 Q_ Do you think that's likely? 9 A That's fair.
10 A. I don't know what it is. But if they never 10 Q. Okay. Let's turn to the substance of this
11 come back with anything, then, okay, maybe I was 11 case. Go ahead and turn back to Plaintiff's responses
12 wrong. 12 to Defendant's interrogatories, that is Exhibit Number
13 Q. Okay. Any other facts that lead you to the 13 14.
14 conclusion that there was an ongoing criminal 14 Do you see here, and this is where we left
15 conspiracy in the T-Mobile case where the parties were 15 off before the break, Interrogatory Number 11 is
16 conspiring against you? 16 seeking information about objective indicia of
17 A Yes. 17 non-obviousness, right?
18 Q_ What else? 18 A Yes.
19 A The expert report contained false 19 Q Do you know what "objective indicia of
20 information that we identified. 20 non-obviousness” means?
21 Q_ What expert report? 21 A Ifyou can maybe just to confirm, right.
22 A The damages expert report. 22 Q Objective facts that would tend to support a
23 Q Whose damages expert report? 23 conclusion that a patent was not obvious. Does that
24 A Mobility Workx. 24 make sense?
25 Q Okay. And whose false information did it 25 A Okay.

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1 CERTIFICATE OF OATH 1 ERRATA SHEET
2 2 Re: Mobility Workx, LLC vs Cellco Partnership d/b/a
3 Verizon Wireless
4 STATE OF FLORIDA ) 3 DEPO OF: Edwin A. Hernandez-Mondragon
5 COUNTY OF MIAMI-DADE ) Date of : June 21, 2019
6 4 Case No.: 4:17-cv-00872-ALM
A I, the undersigned authority, certify that 5
8 EDWIN A. HERNANDEZ-MONDRAGON, personally| ¢ p AGE LINE REMARKS
9 appeared before me and was duly sworn. 7
10 WITNESS my hand and official seal this 27th day 8
11 of June 2019. 9
B 10
"
Vous rode i
15 MARIA BH. KEKUEK, KPR, FPR Is
Notary Public, State of Florida l4
16 My Commission No. GG 073176 MB
Expires: 4/10/2021 16
17 17
18 18
19 19
20 20
21 21
22 22 Signature of Witness
23 23 Dated this day of ;
24 24
25 25
Page 326 Page 328
1 CERTIFICATE 1 michael@machatlaw.com
2 2 June 27, 2019
3 STATE OF FLORIDA ) 3 RE: Mobility Workx, LLC v. Verizon
4 GOUNTY OF MIAMELADE ) 4 DEPOSITION OF: Edwin A. Hernandez-Mondragon (# 3427294)
: | WERRTAR. RERDHR WHR. BHR. de herds tify 5 The above-referenced witness transcript is
> . > > , do hereby certi . :
z that I was authorized to and did ° 8 available for read and ae :
8 stenographically report the foregoing 7 Within the applicable timeframe, the witness
9 deposition of EDWIN A HERNANDEZ-MONDRAGON: that 8 should read the testimony to verify its accuracy. If
10 a review of the transcript was requested; and 9 there are any changes, the witness should note those
11 that the transcript is a true record of my 10 on the attached Errata Sheet.
12 stenographic notes. 11 The witness should sign and notarize the
13 I FURTHER CERTIFY that I am not a relative, 12 attached Errata pages and return to Veritext at
14 employee, attorney, or counsel of any of the 13 errata-tx@veritext.com.
15 parties, nor am [a relative or employee of any 14 According to applicable rules or agreements, if
16 of the parties’ attorney or counsel connected 15 the witness fails to do so within the time allotted,
7 with the action, nor am J fmancially 16 acertified copy of the transcript may be used as if
18 interested in the action. iz deawd
19 Dated this 27th day of June 2019. 18 Vous,
n 19 Veritext Legal Solutions
Nau. Prado 20 cc: All counsel
22 MARIA E. REEDER, RPR, FPR 4
and Notary Public 22
23 23
24 24
25 25

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